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                                                             U.S. Department of Justice

                                                             United States Attorney
                                                             District of New Jersey

__________________________________________________________________________________________________________________

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                                                             Newark, New Jersey 07102


                                                             November 24, 2020

Filed Via ECF
The Honorable Cathy L. Waldor
United States Magistrate Judge
Martin Luther King Jr. Federal Building and U.S. Courthouse
50 Walnut Street
Newark, New Jersey 07102

                 Re: United States v. Waleed Dozier
                 Crim. No. 20-0724 (BRM)


Dear Judge Waldor:

       Defendant Waleed Dozier (hereinafter “Defendant” or “Dozier”) seeks
temporary release from federal pretrial custody pursuant to 18 U.S.C. § 3142(i)
in light of the COVID-19 pandemic. 1 Dkt. #33. Defendant complains that the
possible spread of COVID-19 at the Essex County Correction Facility (“ECCF”),
puts his health at risk during the ongoing pandemic.

        Notably, Defendant does not allege any health conditions which would
place his health at greater risk than every single other incarcerated defendant.
Moreover, Defendant fails to rebut the presumption that his violent history and
pending serious drug distribution and firearms-related felonies do not make him
a danger to the community. Thus, Defendant has fallen well short of meeting
the extremely high burden that is required to release a defendant pursuant to
§ 3142(i), especially one with no health conditions, and who is incarcerated at a
facility that has largely contained the spread of COVID-19 within its walls. The
Government respectfully asks the Court to deny Defendant’s motion.

I.       Background

       In August 2019, law enforcement began investigating Dozier for drug
trafficking in and around Newark, New Jersey, and his related drug trafficking

1 In an abundance of caution, the Government has also analyzed Defendant’s arguments under

18 U.S.C. § 3142(f).
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organization (the “DTO”), which included Dozier, Dominique Auston (“D.
Auston”), Keevin Auston (“K. Auston”), and others both known and unknown.

      As part of this investigation, law enforcement conducted numerous
controlled buys into members of the DTO. For instance, on or about November
19, 2019, law enforcement conducted a controlled purchase during which both
Dozier and K. Auston participated in the sale. Again, on December 4, 2019, law
enforcement conducted a controlled purchase during which both Dozier and D.
Auston participated in the sale.

      During the course of this investigation, law enforcement also placed a GPS
tracking device on Dozier’s vehicle. The tracking device revealed that Dozier
frequented a house, later determined to be a stash house located on Willoughby
Street in Newark, New Jersey (the “Stash House”). On December 19, 2019, law
enforcement executed a search warrant at the Stash House and arrested Dozier
coming out of the Stash House. While searching the Stash House, law
enforcement recovered the following:

          •   Three handguns and assorted ammunition including:
                 o one Smith & Wesson M&P 9mm handgun, bearing serial
                    number HRX5456;
                 o one Rossi Taurus .357 Magnum handgun, bearing serial
                    number DW298513, loaded with six (6) rounds of
                    ammunition;
                 o one Lady Smith Smith & Wesson .357 Magnum handgun,
                    bearing serial number DBJ8858, loaded with five (5) rounds
                    of ammunition; and
                 o an additional forty-five (45) .357 caliber rounds of
                    ammunition.
          •   suspected narcotics, including over 450 grams of a mixture
              containing heroin and fentanyl 2;
          •   a mill press which law enforcement believes is used for pressing
              narcotics using the raw heroin/fentanyl; and
          •   additional drug packaging paraphernalia, including empty glassine
              bags, rubber bands, and sandwich bags, among other items
              commonly used for narcotics packaging and distribution.

      While searching Dozier’s person, law enforcement also located the key that
opened the Stash House, along with an additional twenty bricks of suspected
heroin and three cellular devices.



2 Notably, some of the stamps on the heroin/fentanyl recovered from the Stash House matched

those bought during controlled purchases from members of the DTO, including Dozier.
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       Dozier was arrested and charged by Federal Criminal Complaint with
possession with the intent to distribute the narcotics and possession of the
firearms seized from the Stash House. See Mag No. 19-7571. Law enforcement
continued their investigation, which included executing warrants on Dozier’s
cellular devices. From these devices, it became clear that Dozier was the leader
in a large-scale drug conspiracy.       Law enforcement recovered numerous
narcotics-related text messages between members of the DTO. For instance, on
December 16, 2019, Dozier sent a text message to K. Auston, which stated
“Where you at on the count[?]” K. Auston responded, “Got another 4 ready bro.”
Again on December 18, 2019, Dozier checked in with K. Auston stating “what’s
good bro”. K. Auston responded to Dozier: “Have five working on the six really
need some flavor.” D. Auston and Dozier also discuss drugs, including on
December 17, 2019 when D. Auston texted Dozier, stating: “I was bouta try 2 get
a 40 piece”.

       Law enforcement then obtained historical cell site records for Dozier, D.
Auston and K. Auston’s devices which further confirmed that each of them
frequented the Stash House during the timeframe of the conspiracy. Dozier’s
cellular devices pinged off cell towers in the vicinity of the Stash House nearly
2,000 times between September 1, 2019 and December 19, 2019 (the date of his
arrest).

       On August 27, 2020, Dozier was indicted in a five-count Indictment
charging him with: (1) Conspiracy to distribute over 400 grams of fentanyl;
(2) possession with intent to distribute over 400 grams of fentanyl; (3) possession
of three firearms (two loaded) and ammunition by a convicted felon; (4)
possession of firearms in furtherance of a drug trafficking crime; and (5)
maintaining a drug-involved premises. As noted by Defense Counsel, Dozier
consented to detention at his initial appearance. Dozier faces a fifteen-year
mandatory minimum and an advisory guidelines range of 360 months to life
imprisonment after trial. 3

II.    The Bail Reform Act

       As the Court is aware, under the Bail Reform Act, the Court “shall order
the pretrial release” of a defendant “unless the judicial officer determines that
such release will not reasonably assure the appearance” of the defendant or “will
endanger the safety of any other person or the community.” 18 U.S.C. § 3142(b).
A court’s decision whether to release or detain a defendant turns on its
determination of whether there is “any condition or combination of conditions
set forth in [18 U.S.C. § 3142(c)] that will reasonably assure the appearance of
the [defendant] as required and the safety of any other person and the


3 This guidelines range is an estimation calculated by the Government.



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community . . . .” 18 U.S.C. § 3142(f). Section 3142(c)(1)(B) of the Bail Reform
Act sets forth a nonexclusive list of conditions that a court may impose upon
granting a defendant’s motion for pretrial release. If after a hearing, the court
concludes “that no condition or combination of conditions will reasonably assure
the appearance of the [defendant] as required and the safety of any other person
and the community, such judicial officer shall order the detention of the
[defendant] before trial . . . .” 18 U.S.C. § 3142(e). Here, there is a rebuttable
presumption in favor of detention. 18 U.S.C. §§ 3142(e)(3)(A) & (B).

      In determining whether the defendant poses a threat to the safety of the
community, a court must consider several factors, including (1) the “nature and
circumstances” of the charged offense, (2) the weight of the evidence against the
defendant, and (3) the defendant’s history and characteristics, including his
character, his family and community ties, his past conduct, his criminal history,
and his “record concerning appearance at court proceedings.” 18 U.S.C.
§ 3142(g); see United States v. Bowers, 432 F.3d 518, 524 (3d Cir. 2005) (Section
3142(g) lists factors the court must consider when deciding whether to release a
defendant).

       Separately, § 3142(i) establishes that the Court “may, by subsequent
order, permit the temporary release of the person, in the custody of a United
States marshal or another appropriate person, to the extent that the judicial
officer determines such release to be necessary for preparation of the person’s
defense or for another compelling reason.” “[A] defendant’s medical condition
may present that compelling reason in a particular case.” United States v. Clark,
Crim. No. 19-40068, 2020 WL 1446895, at *6 (D. Kan. Mar. 25, 2020) (citing
United States v. Rebollo-Andino, 312 F. App’x 346, 348 (1st Cir. 2009) (noting the
defendant could seek temporary release under § 3142(i) for medical reasons)).
However, “‘[t]he standard imposed by the statute is one of necessity, not
convenience.’” United States v. Aponte-Lebron, Crim. No. 20-30, 2020 U.S. Dist.
LEXIS 53957, at *5 (E.D. Wis. Mar. 25, 2020) (quoting United States v. Bolze,
Crim. No. 09-93, 2010 WL 199978, at *2 (E.D. Tenn. Jan. 13, 2010)).

       This subsection “has been used sparingly to permit a defendant’s release
where, for example, he is suffering from a terminal illness or serious injuries.”
United States v. Hamilton, Crim. No. 19-54 (NGG), 2020 WL 1323036, at *2
(E.D.N.Y. Mar. 20, 2020). For instance, in United States v. Scarpa, 815 F. Supp.
88 (E.D.N.Y 1993), the court permitted release of a defendant under the twenty-
four-hour guard of the United States Marshal Service—at his own expense—after
he had “sustained a gunshot wound that destroyed his left eye and surrounding
area of his face and skull,” and after it was determined that “he would ‘shortly
die’ from terminal AIDS,” Clark, 2020 WL 1446895, at *2 (citing Scarpa, 815 F.
Supp. at 88). Critically, in Scarpa, “correctional authorities could no longer
manage his medical needs.” Id. at *2; see also United States v. Cordero-
Caraballo, 185 F. Supp. 2d 143, 144-47 (D.P.R. 2002) (ordering release of
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defendant who had sustained multiple gunshot wounds, was partially paralyzed,
had lost some arm function, had a wound the size of a fist, required four to five
contracted security guards to supervise him, and the Bureau of Prisons could
not provide the medical care that he required).

      In recent months, courts throughout the country have addressed bail
motions premised on COVID-19 in the context of both § 3142(f) and § 3142(i).
As set forth herein, these cases—as well as the familiar framework of the Bail
Reform Act—support denial of the present motion.

III.   Analysis

       A.      Defendant is Not Entitled to Release Pursuant to 18 U.S.C.
               § 3142(f)

               1.     Defendant is a Threat to the Community

       Defendant poses a serious threat to the community. The Defendant
incredulously states that “[t]here is no dispute that Mr. Dozier poses absolutely
no danger to the community; the Government has presented no facts to the
contrary.” Def. Br. at 3. This unbelievable assertion has absolutely no basis in
law or fact. Critically, the Bail Reform Act’s focus on ensuring the safety of the
community is not limited to “violence” in the colloquial sense. One Senate Report
statement pertaining to the Bail Reform Act declares that “language referring to
safety of the community refers to the danger that the defendant might engage in
criminal activity to the detriment of the community . . . . The Committee intends
that the concern about safety be given a broader construction than merely
danger of harm involving physical violence.” S. Rep. No. 225 98th Cong., 1st
Sess. 6-7, reprinted in 1984 U.S. Code. Cong. & Admin. News 3182, 3195-96;
see also United States v. Millan, 4 F.3d 1038, 1047 (2d Cir. 1993) (“The language
referring to the safety of the community refers to the danger that the defendant
might engage in criminal activity to the detriment of the community”). Against,
this backdrop, it is undeniable that Dozier poses a significant danger to the
community. As noted in detail above—the Defendant has been charged with five
counts of extremely serious firearms and narcotics offenses, which carry a
collective mandatory minimum of 15 years’ incarceration. Defendant is alleged
to be the leader and organizer of a drug trafficking organization that conspired
to distribute over 450 grams of fentanyl, a drug that kills tens of thousands of
individuals across the County every year. 4 The amount of fentanyl at the Stash
House was so great that the FBI had to call in a hazmat team to clear the

4 In 2018, the last year for which the CDC has published statistics on opioid-related deaths,

synthetic opioids (over 2/3 of which are fentanyl-related), resulted in nearly 3,000 deaths in New
Jersey      alone.            See      2018        Drug       Overdose        Rates, Available   at
https://www.cdc.gov/drugoverdose/data/statedeaths/drug-overdose-death-2018.html.
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premises. Moreover, the Defendant also had in his possession three loaded
firearms in addition to 45 additional rounds of ammunition. Loaded firearms
carry an inherent risk of violence. But when those firearms are used to protect
a large-scale drug supply, the risk of violence is magnified.

      Moreover, the evidence against Dozier is overwhelming. At least three
controlled buys were conducted involving Dozier directly. Dozier was at the
Stash House at the time of the search and actually had the key to the door of the
Stash House in his pocket. The phones recovered from Dozier reveal additional
evidence to support his narcotics activity—including evidence that others in the
DTO actually worked for him, including by packaging narcotics in the Stash
House and contributing to the rent. Cell site data also places him at the Stash
House over 2,000 times in just three months. The GPS tracking device on
Dozier’s vehicle also confirms that he was at the Stash House nearly every day.
For example, from October 17, 2019 through November 15, 2019, Dozier’s
vehicle traveled to the Stash House on at least 22 distinct days. And the search
warrant executed on Dozier’s home—the home of Ms. Purvis who Defendant
proposes as his third party custodian—revealed approximately $40,000 in drug
proceeds.

       The Defendant’s criminal history is also alarming. From April 1995 until
his arrest in this matter, Dozier was arrested 15 times as an adult in New Jersey.
These arrests resulted in two separate convictions for aggravated assault with
an attempt to cause serious bodily injury, two separate convictions for resisting
arrest, two separate convictions for manufacturing or distributing controlled
dangerous substances, one conviction for possession of controlled dangerous
substances, and one conviction for distributing controlled dangerous substances
on school property. Most recently, Dozier was sentenced in 2010 to a nine-year
term of incarceration for an aggravated assault, including an attempt to cause
serious bodily injury. In that case, Dozier engaged law enforcement in a high-
speed chase, culminating in Dozier’s vehicle striking and permanently injuring
a law enforcement officer.

       The defendant’s criminal history is certainly abysmal. But what’s more
concerning, is the repetitive nature of the Defendant’s convictions and the clear
lack of respect for the law that permeates all of these convictions. The Defendant
was convicted for his involvement with narcotics twice in 2001, twice in 2003,
once in 2004, and again in 2007. In fact, his only real reprieve from criminal
activity in the past 25 years are the times when he was incarcerated. For
instance, the only time since 1995 that Dozier has gone more than two years
without an arrest was in 2008 when he was sentenced to a nine-year term of
incarceration after committing a violent aggravated assault.

      Despite this criminal history replete with violence and drug-related crimes,
the Defendant now proposes that he be released into the third-party custody of
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his wife, Giovanni Purvis, and that he be placed on home confinement at Ms.
Purvis residence, along with his minor son. Notably, on December 19, 2019, the
day the Defendant was arrested for the instant offense, he was residing with Ms.
Purvis and his son, who were both present in the residence when it was searched
pursuant to a warrant. Given the over $40,000 of suspected narcotics proceeds
found in the residence, it is likely that Ms. Purvis was aware of her husband’s
illegal activities. At the very least, her and her son’s presence did nothing to
deter the Defendant from engaging in the charged and highly serious illegal
conduct.

      Defendant also poses a risk of flight, as is evidenced by, among other
things, his numerous convictions for resisting arrest and fleeing from law
enforcement as outlined above. Moreover, Dozier now faces his first federal
charges and an extremely lengthy term of incarceration. Consequently, the
Defendant has every incentive to flee. His history also shows a complete
disrespect for law enforcement, as his 2010 aggravated assault involved
allegations that he attempted to run over a law enforcement officer with his
vehicle.

      In sum, the circumstances of the present offense and Defendant’s history
and characteristics create a grave risk to society were he to be released. Now,
facing a fifteen-year mandatory minimum and an exposure to life imprisonment,
the Defendant argues, for the first time, that he poses no threat to society if
released. The Defendant has not and cannot rebut the presumption that he
remain detained.

       B.     Defendant is Not Entitled to Release Pursuant to Section 3142(i)

              1.      COVID-19 and the Conditions at ECCF

       The Defendant describes how his exposure to COVID-19 is exacerbated
due a generalized assessment of prison conditions. In support of this, the
Defendant cites to rates of infection cross the country, and various other
statistics country and state-wide. The defendant does not, however, refer to the
current conditions specifically at the ECCF. 5

      Indeed, ECCF has undertaken sweeping measures and aggressive actions
to prevent and mitigate the spread of COVID-19 within the facility. The
Government has obtained a sworn affidavit from Alfaro Ortiz, the Director of the




5 As discussed further, Defendant cites to a report from 2018 which addresses the ICE section

of ECCF (not where Dozier is housed) and which the report itself acknowledges is “resolved.”

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ECCF, see Govt. Ex. 1, 6 which provides the following (and additional) information
about current conditions in the ECCF and the steps being taking to protect the
jail population:

           ●   Additional medical staff are on-site and are available to provide
               medical care 24 hours a day, 7 days a week. The ECCF is equipped
               with a 42-bed infirmary.

           ●   Since March 2020, the ECCF has developed new protocols for
               handling inmates who might suffer from conditions making them
               particularly vulnerable to COVID-19 including daily monitoring of
               these inmates and plans to remove the inmates from the general
               population, should the need arise. Moreover, any inmates who are
               at a high-risk are currently being housed separately and the
               corrections officers that work with this population are utilizing full
               personal-protective equipment (“PPE”), including Tyvek Suits and N-
               95 masks.

           ●   The ECCF has also increased the monitoring of all inmates for any
               symptoms of COVID-19.

           ●   The ECCF has hired additional staff to ensure the cleaning and
               sanitizing of the facility.

           ●   The ECCF has transitioned all visits to non-contact visits that are
               conducted through physical, glass barriers.

           ●   The ECCF has begun screening all corrections officers and staff for
               COVID-19, outside of the facility, prior to beginning their shift. Any
               symptomatic staff are denied entry into the facility and are sent
               home.

           ●   All inmates have increased access to soap, which is not shared with
               other inmates, and have been instructed as to additional measures,
               such as hand-washing, necessary to stop virus spread.

       These measures—which closely track those being taken at BOP
institutions 7—are designed to sharply mitigate the risks of COVID-19
transmission inside the ECCF. During the pendency of this pandemic, these
and additional measures have worked well, as the cases of COVID-19 at the

6 Director Alfaro’s affidavit has been updated multiple times throughout the course of the COVID-

19 situation to reflect any additional measures that have been undertaken at the ECCF. This
affidavit, the Twenty-Fifth Amended Declaration, is current as of this writing.

7See COVID-19 Resource Page at
                                 https://www.bop.gov/coronavirus/index.jsp (regularly updated).

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ECCF have not significantly spread into the overall general population in the
facility. As of on or about November 9, 2020, of the approximately 2,046 inmates
comprising ECCF’s total population (excluding ICE detainees), 8 one county
inmate housed at ECCF has currently tested positive for COVID-19. There are
an additional five county inmates housed at Delaney Hall (across the street from
ECCF) who have tested positive. See Ortiz Decl. ¶ 44.

      Numerous courts in this district have held that the ECCF is undertaking
extraordinary efforts to combat COVID-19. See, e.g., United States v. Kenneth
Roberts, 20-mj-10033, DKT # 63, at 5 (D.N.J. May 4, 2020) (ESK) (finding that
the record “unequivocally shows the extraordinary efforts undertaken by [ECCF]
to prevent the spread of COVID-19 infections”).

              2.      Generalized Fear of COVID-19 Does Not Justify Release

       First and foremost, courts in this jurisdiction and elsewhere have found,
without exception, that a generalized fear of contracting COVID-19 does not, in
and of itself, justify release. See United States v. Miller, Crim. No. 19-570 (FLW),
D.E. 20 (J. Goodman) (D.N.J. Mar. 30, 2020) (denying pretrial release and
rejecting arguments concerning generalized “risks associated with COVID-19,”
particularly where a defendant was “not in a category that presents heightened
risks relating to COVID-19, such as being of advanced age or having certain pre-
existing health complications.”); United States v. Oberlander, Crim. No. 16-309
(J. Salas) (D.N.J. Apr. 7, 2020) (denying the defendant’s motion for release
because COVID-19 is only one factor, and the defendant failed to satisfy the
other requirements of the Bail Reform Act); accord United States v. Jones, Crim.
No. 18-100, 2020 WL 1674145, at *4 (W.D. Pa. Apr. 6, 2020) (denying release on
COVID-19 grounds where defendant had pleaded guilty to, among other crimes,
an “extremely serious controlled substance” offense and “speculation about
present or possible future conditions at the [correctional facility] does not
constitute an exceptional reason for release.”); Clark, 2020 WL 1446895, at *3
(finding that a “defendant should not be entitled to temporary release under
§ 3142(i) based solely on generalized COVID-19 fears and speculation.”).

       Defendant argues for release based on nothing more than a generalized
risk that COVID-19 poses to “Dozier if he continues to be detained during this
public health crisis.” Def. Br. at 6. Defendant does not cite to any data
concerning COVID-19 at ECCF and in fact states that “[i]t is only a matter of
time before the virus hits the Essex County Correctional Facility – if it has not
already – and once it does, the outbreak will spread across the inmate and
detainee population.” Id. This type of conjecture about the risks of COVID-19
at correctional facilities is precisely the type of argument that courts across the

8 The same data provides that no ICE detainees at ECCF have currently tested positive for COVID-

19 in the past 23 weeks.
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country, including this Court, have consistently rejected. It is also factually
incorrect. ECCF, like nearly every other prison in the country, has had cases of
COVID-19. However, the precautions discussed above have prevented COVID-
19 from spreading across the “inmate and detainee population” as incorrectly
predicted by Defendant. In fact, as of November, 9, 2020 ECCF had 1 COVID-
19 case out of approximately 2,046 inmates – or less than one tenth of one
percent of the inmate population.

       Defendant also cites to a Department of Homeland Security Report, which
discusses general concerns regarding food preparation and living conditions at
ECCF. See Def. Br. at 10-12. However, as noted, this report explicitly states
that it was conducted for the ICE portion of the facility, which is notably not
where Dozier is currently housed. Conducted prior to COVID-19 and discussing
an entirely different building at ECCF, this report is irrelevant to the Court’s
current consideration. ECCF is aggressively combatting COVID-19, and it is
working. In light of this, Dozier’s speculative concerns do not warrant his
release.

            3.     Defendant is Not Among the Categories of Detainees
                   Indicated for Release on COVID-19 Grounds

      Importantly, Defendant makes absolutely no argument that he suffers
from a present health condition. Thus, at age 43, Dozier is not elderly and he
does not present with health conditions that make him particularly susceptible
to COVID-19 complications. Therefore, Dozier is not among the types of
detainees that have been designated for release in light of the pandemic.

      Courts in this district and elsewhere have uniformly concluded that they
“must make an individualized determination as to whether COVID-19 concerns
present such a compelling reason in a particular case that temporary release is
necessary under § 3142(i).” Clark, 2020 WL 1446895, at *3. In making that
determination, courts have considered various factors, including: “(1) the original
grounds for the defendant’s pretrial detention, (2) the specificity of the
defendant’s stated COVID-19 concerns, (3) the extent to which the proposed
release plan is tailored to mitigate or exacerbate other COVID-19 risks to the
defendant, and (4) the likelihood that the defendant’s proposed release would
increase COVID-19 risks to others.” Id. The Government submits that those
factors, applied to Defendant, do not warrant temporary release.

     First, as detailed extensively above, Dozier is a danger to the community
and a risk of flight. On that basis alone, he should remain detained.
Nonetheless, the remaining factors all support his continued detention.

     Defendant’s COVID-19 concerns are about as general as they get; he raises
no specific health concerns that are unique to him (as opposed to all ECCF

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inmates) and he fails to provide an affidavit regarding any specific conditions at
ECCF which subject him to a heightened risk of COVID-19. Courts have
detained Defendants with significant medical conditions. See, e.g., United States
v. Goettsche, et al., Crim. No. 19-877 (CCC) (MAH) (D.N.J. Mar. 30, 2020)
(denying pretrial release where defendant suffered from asthma, in part, due to
evidence of the ECCF’s specific protective measures); United States v. Martin,
Crim. No. 19-140-13, 2020 WL 1274857, at *4 (D. Md. Mar. 17, 2020) (denying
release on COVID-19 grounds of a defendant with diabetes, high blood pressure
and asthma charged with narcotics conspiracy); cf. Sacal-Micha v. Longoria, Civ.
No. 20-37, 2020 U.S. Dist. LEXIS 53474, at *5 (S.D. Tex. Mar. 27, 2020) (denying
request for release of sixty-nine-year-old immigration detainee with several
documented health conditions, noting that he did not allege that he received
inadequate care for his current medical conditions).         Dozier’s COVID-19
concerns are thus precisely the “generalized fears” that Courts uniformly reject.

      Further, Dozier has not provided any reason why he would be safer living
with his wife and child in Gloucester County. 9 In Clark, the court denied the
defendant’s motion for release, in part, because the Court observed:

       Mr. Clark also does not address the extent to which his risks could be
       exacerbated if he returns to Chicago. He proposes home detention with
       GPS monitoring. However, he offers no evidence to explain how living with
       his mother mitigates the risk of infection. For example, he does not explain
       who else has or will live in or frequent the home or identify any screening
       practices or concrete COVID-19 precautions being taken there. He
       therefore offers nothing more than speculation that home detention would
       be less risky than living in close quarters with others at [the correctional
       facility], which at least has screening practices and other reasonable
       COVID-19 precautions in place.

       Clark, No. 2020 WL 1446895, at *6.

       Similarly, Dozier has failed to demonstrate how living with Giovanni Purvis
will reduce the risk of infection, as opposed to the measures and protocols that
have been implemented at ECCF, as set forth above. See United State v. Green,
2020 U.S. Dist. LEXIS 53440 (W.D. Pa. Mar. 27, 2020) (denying Green’s motion
for pretrial release despite his asthmatic condition, noting that his potential for
exposure “exist[ed] anywhere in the community”). Moreover, if released,
Defendant certainly poses a risk of infecting the community at large, including
his wife and son.


9 There have been approximately 293,744 cases of COVID-19 in New Jersey, including at least

7,500 in Gloucester County where          the   Defendant   proposes   to   reside.    See
https://covid19.nj.gov/#live-updates.

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       The Government respectfully submits that, for all of the reasons set forth
above, this Court should find that an individualized assessment here supports
the Defendant’s continued detention. The government acknowledges that there
are pretrial detainees in the federal system and elsewhere who have contracted
COVID-19. Unfortunately, there will be others. But that inevitability does not
justify wholesale release, which would be the logical conclusion of Defendant’s
proposal. The decision of whether or not Defendant should be released should
not turn solely or even primarily on the fact that he may eventually contract
COVID-19. Rather, the courts must undertake an individualized assessment
guided by the factors and standards articulated in § 3142. The Government
submits that Defendant should continue to be detained. See United States v.
Hamilton, No. 19-CR-54-01, 2020 WL 1323036, at *1-2 (Mar. 20, 2020 E.D.N.Y.)
(denying motion for release where defendant failed to rebut presumption that he
was a flight risk and a danger to the community, and finding possibility of
COVID-19 outbreak did not provide sufficiently compelling justification for
release despite defendant’s advanced age, dementia, and prior heart conditions).

            4.    The Current Conditions Will Not Have a More Serious
                  Impact on the Defendants’ Access to Counsel Than on
                  Those of Similarly Situated Defendants

      Defendant also argues that his continued detention during the COVID-19
pandemic interferes with his ability to prepare his defense. Def. Br. at 13-16.
Defendant argues this largely based on a “tremendous volume of discovery” that
he will have difficulty reviewing while incarcerated, as well as a reduction in
attorney visitation at ECCF stemming from the pandemic. Id. at 14. This
argument should be rejected as the Defendant has not demonstrated that the
current conditions at ECCF will have a more serious impact on the Defendant’s
Sixth Amendment rights than on those of similarly situated detainees.

       First, as to the “tremendous volume of discovery” that Defendant alleges
exists in this matter. The Government agreed with all three defense counsel in
this matter that this is not a complex case, and therefore is one that “does not
require extensive discovery”. See DKT #32. Moreover, the Government produced
the entirety of the discovery in this matter by October 26, 2020, less than one
month after the entry of a scheduling order. And, the Government was able to
produce all of the discovery via USAFX, an online platform that is not able to be
used when the volume is discovery is too great (in those cases, a hard drive would
be necessary). Thus, the discovery in this case is certainly not out of the
ordinary, or so large as to justify Dozier’s release on that basis alone.

       Courts consistently find that a pretrial detainee’s right to counsel is
infringed only when prison regulations unreasonably burden or significantly
interfere with the detainee’s access to counsel. United States v. Dawara, No. 19-
CR-414-1, 2020 WL 2404898, at *8 (E.D. Pa. May 12, 2020 (citing Benjamin v.
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Fraser, 264 F.3d 175, 187 (2d Cir. 2001)). To be sure, the COVID-19 pandemic
has forced prisons around the country to take significant steps to protect their
populations, and ECCF is no different. As part of those efforts, ECCF has
restricted in-person visits by attorneys and other visitors and limited the
movement of detainees around the facility. Yet despite these reasonable
restrictions, defendants are still provided ample opportunities to interact with
counsel, including by mail, over the phone, and through videoconferences. See
Ex. 1, Ortiz Decl. ¶¶ 19(n); 20(c); 20(g); 20(k); 20(l) (“Advocates can initiate calls
to inmates or detainees on a confidential line for up to 99 minutes.”).

       Indeed, other courts have rejected similar arguments. For example, the
Chief District Judge in the Eastern District of Pennsylvania rejected a
defendant’s claims that FDC Philadelphia’s restrictions on his access to counsel
required release under § 3142(i) and the Sixth Amendment. See Dawara, 2020
WL 2404898, at *8. Although the Court acknowledged limitations on the
defendant’s ability to meet with his attorney, it held that “[c]onsidering the
measures necessary for the BOP to prevent spread of COVID-19 in its
institutions, the suspension of legal visits could hardly be viewed as
unreasonable.” Id. at *8; see also United States v. Corbitt, No. 20-CR-00030,
2020 WL 2098271, at *8 (M.D. Pa. May 1, 2020) (rejecting motion for release
under Section 3142(i) and noting that “[i]f federal courts had to order temporary
release just because it would aid a defendant’s ability to work with counsel, the
exception in section 3142(i) would swallow all detention orders”) (quotation
omitted); United States v. Olszewski, No. 15-Cr-364, 2020 WL 2420483, at *3
(S.D.N.Y. May 12, 2020) (despite defendant’s argument that he was “unable to
meet with his attorney in person and is only able to speak with her by phone in
a limited capacity,” holding that BOP’s limitations “do not constitute an
‘extraordinary and compelling reason’ making compassionate release
appropriate”); United States v. Landji, No. 18-CR-601 (PGG), 2020 WL 1674070,
at *6 (S.D.N.Y. Apr. 5, 2020) (“Although the Court is concerned about
[defendant’s] access to counsel, it cannot find that BOP’s decision to suspend all
legal visits for 30 days is unreasonable in light of the global pandemic and the
threat it poses to inmates, residents of New York City, and the nation at large”).

       There is also less of an immediate need for extensive consultation, at least
compared to other cases with more urgent deadlines. As a district court judge
in the Central District of California ruled in denying release on COVID-19
grounds, “the fact of the matter is that no jury trial will be conducted until
conditions in the Central District normalize. Notwithstanding any current
limitations on attorney visits, there will be an adequate opportunity to prepare
once conditions normalize.” United States v. Avenatti, Crim. No. 19-61 (JVS), at
2-3 (C.D. Cal. Mar. 21, 2020).

      Here, there is no scheduled trial date, and there are no evidentiary
hearings scheduled at this time.    Moreover, there is no indication that
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Defendant’s release would improve his ability to meet and confer with defense
counsel. In light of current social distancing measures, even if Dozier were to be
temporarily released, he would still communicate with defense counsel in the
same manner as he is capable of doing from ECCF—namely, over the phone and
via video conference.

      In sum, Defendant has not shown that ECCF’s restrictions are
unreasonable or that they violate his right to counsel. Simply put, Dozier is a
dangerous individual—one who poses a risk of flight—and he should therefore
be detained pending trial.

IV.   Conclusion

      For the reasons set forth above, the Government respectfully submits that
Defendant is a danger to the community and cannot overcome the presumption
of detention in 18 U.S.C. § 3142(f) or the high standard of 18 U.S.C. § 3142(i).
The Defendant’s motion should be denied.

                                               Respectfully submitted,

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                                               United States Attorney


                                                _______________________
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                                                Assistant U.S. Attorney




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